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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                 DEFENDANT’S SUPPLEMENTAL REPLY ON WAIVER

       On February 4, 2022, the Government filed a Motion In Limine To Exclude Evidence Or

Argument Relating To Good-Faith Reliance On Law Or Advice Of Counsel [Doc. 29]. On

February 25, 2022, Defendant, Stephen K. Bannon, filed his Opposition to the motion [Doc. 30].

Following the March 16, 2022 oral argument on this and other motions, as the Court directed, Mr.

Bannon filed a supplemental brief, limited to the issue of whether the invocation of Executive

Privilege in this case materially distinguishes the instant case from Licavoli v. United States, 294

F.2d 207 (D.C. Cir. 1961) on the question of how “willfully makes default” is to be construed and

the associated question of whether the advice of counsel may be presented at trial [Doc. 41]. On

March 29, 2022, the Government filed its response [Doc. 43]. In its response, the Government

asserted that, while the Court need not address the issue, Mr. Bannon, nevertheless, waived this

argument by purportedly not raising it in his initial opposition [Doc. 43 at 10]. Since the

Government has asserted this waiver claim, Mr. Bannon now replies exclusively to that erroneous

assertion.1



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 The Court gave Mr. Bannon permission to file a reply limited to the waiver claim if the
Government were to make such a claim [Tr. 3/16/2022 Oral Argument at 98]. The Government
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                               The Argument Was Presented Not Waived

       Mr. Bannon expressly made the argument in his Opposition to the Government’s Motion

in limine (“Opposition”) that the holding in Licavoli (and other cases the Government claimed

supported Licavoli) construing “willfully makes default” and on the right to an advice of counsel

defense in a prosecution under 2 U.S.C. § 192 should not be applied in the instant case because at

the heart of the instant case and the advice of counsel at issue here is the invocation of Executive

Privilege by the former President and that is a materially distinguishing factor on these issues [Doc.

30 at 3-4; 4-9; 15-20].

       Mr. Bannon explained in the Opposition that the invocation of Executive Privilege, unlike

any fact present in Licavoli or any other case cited by the Government, (1) triggered the OLC

opinions by this prosecuting agency (the DOJ) on which the advice of counsel was based, (2)

introduced constitutional issues, including a separation of powers confrontation, that were not

present in the other cases, and (3) tied the hands of the Defendant, as directed through the advice

of counsel, such that the dynamic surrounding “willfully makes default” is completely outside the

Licavoli framework or any factor contemplated by the Licavoli Court [Doc. 30 at 3-4; 4-9; 15-

20]. There can be no waiver under the circumstances presented here; nor has the Government

presented any authority to support a waiver claim under these circumstances in this procedural

posture.



cites one case in support of its claim of waiver here. That case, United States v. Devaugh, 422 F.
Supp. 3d 104, 118 n. 10 (D.D.C. 2019), is completely inapposite. In Devaugh, the question of
waiver arose in the context of a motion to suppress, in which, among other things, the defendant
sought the suppression of statements that were elicited after he was unlawfully handcuffed. The
Court noted that in response to the defendant’s argument that the statements should be
suppressed, the Government wrote merely that it disagreed, but that, in any event, it did not
intend to use the defendant’s statements in its case in chief, so any argument against suppression
of the statements was waived. Id. That bears absolutely no relationship to the instant context.


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                  How and Where in the Opposition the Argument was Presented:

       In his Opposition, Mr. Bannon made several arguments as to why the Government’s

Motion to exclude the advice of counsel defense should be denied. Those arguments included

(1) that Licavoli is no longer good law in light of subsequent relevant developments related to the

definition of “willfulness” [Doc. 30 at 3; 9-14]; (2) that contempt of court cases relied on by the

government are not applicable [Doc. 30 at 2; 22-24]; (3) that to apply Licavoli’s strict liability

“willfulness” definition here, rendering the invocation of Executive Privilege meaningless,

would violate the constitutional separation of powers doctrine [Doc. 30 at 3; 15]; AND (4) that

this case is different from Licavoli because this case involves the material factual distinction of

the invocation of Executive Privilege (Doc. 30 at 4; 15-20), along with other arguments. Each

argument was previewed at the beginning of the Opposition and then was further developed.

Only the fourth argument is at issue here.

       On Page 3 of his Opposition, Mr. Bannon first addressed the Government’s position that a

person is guilty under 2 U.S.C. § 192 if he receives a congressional subpoena and does not appear

or produce documents, no matter what the reason is and that this position is based on a “60-year

old case,” referring to Licavoli [Doc. 30 at 3]. Then, after noting the additional argument that

Licavoli has been rendered obsolete by subsequent decisions on “willfully,” Mr. Bannon

immediately emphasized the exact argument at issue here – that the primary material

distinguishing factor between Licavoli and the instant case on the issue of “willfully” and the legal

relevance of advice of counsel is the invocation of Executive Privilege by former President Trump

in the instant case. The Opposition reads, in pertinent part, as follows:

       “Notably, none of the cases cited by the Government involves a former top Presidential
       advisor facing demands from a Congressional committee on one hand, and an assertion of

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       executive privilege by a former President on the other hand. U.S. Department of Justice
       policy provides clear direction. In such circumstances, Mr. Costello’s advice to Mr.
       Bannon about what the law requires and Mr. Bannon's reliance and right to rely on the
       advice of his attorney is highly relevant in a subsequent criminal prosecution.”

[Doc. 30 at 4] (Emphasis added).

       To demonstrate the material distinction between the instant case and the Licavoli scenario,

the Opposition devoted several pages to a recitation of the facts regarding the invocation of

Executive Privilege and the basis for the advice by counsel that Mr. Bannon could not legally

comply with the subpoena because of Executive Privilege [Doc. 30 at 4-9; Doc. 30-1].

       The Opposition then further provided legal arguments why the invocation of Executive

Privilege and the advice of counsel based on Executive Privilege present a materially

distinguishable circumstance [Doc. 30 at 15-20], emphasizing (1) that the “specific circumstances

of this case” [Doc. 30 at 15] (emphasis in original) distinguish this case on advice of counsel; (2)

that the OLC Opinions regarding Executive Privilege and the rights and duties flowing from them

set this case apart in requiring the advice of counsel and making it directly relevant [Doc. 30 at 16-

20] and (3) that in this case alone, the advice of counsel, because of the invocation of Executive

Privilege and the applicable OLC Opinions, is at the heart of the question of “willfully makes

default” unlike any failure to comply for any other reason, as in Licavoli [Doc. 30 at 18-20].

       The Opposition addressed these issues specifically because (1) there is limited judicial

precedent construing the relevant statutory terms; (2) Licavoli and the other cases cited by the

Government did not involve any such unique and constitutionally significant factor; and (3)

because it is well-settled that material factual distinctions make all the difference when

determining whether past decisions applying a statute should be given binding precedential effect

under the principle of stare decisis. See Nippon Shinyaku Co. v. Iancu, 369 F. Supp. 3d 226, 237




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(D.D.C. 2019).2 Accordingly, Mr. Bannon did not waive the argument that this case is materially

distinguishable from Licavoli and that Licavoli does not apply here for that reason.

                                         CONCLUSION

       Although a finer point was put on the issue, with the benefit of the Court’s focused

questioning at oral argument, Mr. Bannon did not waive the argument that Licavoli is

distinguishable from the instant case because it did not involve the invocation of Executive

Privilege, and that this case is, therefore, outside the framework for “willfulness” and advice of

counsel contemplated by the court in Licavoli or any other case relied on by the Government.

While the Opposition certainly addressed other reasons as well for why Licavoli’s holding on

“willfulness” does not apply, distinguishing this case from Licavoli on the constitutionally

significant invocation of Executive Privilege and the advice of counsel based on that invocation

definitely was raised and argued in the Opposition.

Dated: March 30, 2022                        Respectfully submitted,

                                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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 "Stare decisis compels adherence to a prior factually indistinguishable decision of a controlling
court." Brewster v. Comm'r, 607 F.2d 1369, 1373, 197 U.S. App. D.C. 184 (D.C. Cir. 1979).
The rule of stare decisis is never properly invoked unless in the decision put forward as
precedent the judicial mind has been applied to and passed upon the precise question. Questions
which merely lurk in the record, neither brought to the attention of the court nor ruled upon, are
not to be considered as having been so decided as to constitute precedents.
Nat'l R.R. Passenger v. ExpressTrak, LLC, Civil Action No. 02-1773, 2006 U.S. Dist. LEXIS
74923, 2006 WL 2947558 at *6 (D.D.C. Oct. 16, 2006) (citations omitted); see also Supernus
Pharm., Inc. v. Iancu, 913 F.3d 1351, 1357 (Fed. Cir. 2019) (finding that a prior decision with
different facts and a different legal question was not controlling in that action).” Nippon
Shinyaku Co. v. Iancu, 369 F. Supp. 3d 226, 237 (D.D.C. 2019).

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of March 2022, a copy of the foregoing

Defendant’s Supplemental Reply On Waiver was served via the Court’s CM/ECF system on all

properly registered parties and counsel.


                                              /s/ M. Evan Corcoran
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